Case 1:03-cr-00127-LTB Document 644 Filed 11/29/06 USDC Colorado Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Action No. 03-cr-00127-LTB-04

UNITED STATES OF AMERICA,
Plaintiff,

v.

4. SAIMA SAIMA,

Defendant.

ORDER

Upon motion of the United States of America pursuant to Rule 48(a) of the Federal Rules
of Criminal Procedure, and for good cause shown, it is hereby

ORDERED that all Counts of the Indictment, the Superseding Indictment, the Second
Superseding Indictment and the Third Superseding Indictment against the defendant, SAIMA

SAIMA, be dismissed.

DATED this L 7 day of November 2006.

BY THE COURT:

LEWIS T. BABCOCK; CHIEF JUDGE
UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO
